22-10943-mew   Doc 1000-1 Filed 02/14/23   Entered 02/14/23 08:18:13   Exhibit A -
                         Redacted Report   Pg 1 of 70



                                  Exhibit A
22-10943-mew           Doc 1000-1 Filed 02/14/23               Entered 02/14/23 08:18:13      Exhibit A -
                                 Redacted Report               Pg 2 of 70



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :   Chapter 11
In re:                                                           :
                                                                 :   Case No. 22-10943 (MEW)
VOYAGER DIGITAL HOLDINGS, INC., et al.,1                         :
                                                                 :   (Jointly Administered)
                                    Debtors.                     :
                                                                 :
-----------------------------------------------------------------x




  INVESTIGATION REPORT OF THE SPECIAL COMMITTEE OF THE BOARD OF
                DIRECTORS OF VOYAGER DIGITAL, LLC




                                                     QUINN EMANUEL URQUHART & SULLIVAN, LLP

                                                     51 Madison Avenue, 22nd Floor
                                                     New York, New York 10010

                                                     Counsel to the Special Committee of the Board of
                                                     Directors of Voyager Digital, LLC

October 7, 2022




        1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and
Voyager Digital, LLC (8013). The location of the Voyager Digital Holdings, Inc.’s and Voyager Digital
Ltd.’s principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003. Voyager Digital,
LLC’s principal place of business is 701 S Miami Ave, 8th Floor, Miami, FL 33131.
22-10943-mew           Doc 1000-1 Filed 02/14/23                          Entered 02/14/23 08:18:13                       Exhibit A -
                                 Redacted Report                          Pg 3 of 70



                                              TABLE OF CONTENTS
                                                                                                                                    Page

I.     EXECUTIVE SUMMARY OF THE SPECIAL COMMITTEE’S FINDINGS
       AND CONCLUSIONS ........................................................................................................1
II.    PROCEDURAL BACKGROUND ......................................................................................3
       A.        The Bankruptcy Filing .............................................................................................3
       B.        Special Committee Appointment And Mandate ......................................................4
       C.        Retention of Professionals .......................................................................................5
       D.        Stipulated Protective Order ......................................................................................5
       E.        Discovery Conducted in Furtherance of Investigation ............................................6
       F.        Coordination With the UCC ....................................................................................7
       G.        Special Committee Meetings ...................................................................................7
III.   RELEVANT FACTUAL BACKGROUND AND FINDINGS ..........................................7
       A.        Voyager’s Corporate Structure ................................................................................7
       B.        Voyager LLC’s Directors & Officers ......................................................................8
       C.        Voyager LLC Operating Agreement .....................................................................12
                 1.        Governance ................................................................................................12
                 2.        Exculpation; No Modification of Fiduciary Duties ...................................13
                 3.        Indemnification Provision ..........................................................................14
       D.        Voyager’s D&O Insurance ....................................................................................14
                 1.        XL Specialty Insurance Company Management Liability Policy
                           (Primary) ....................................................................................................15
                           (a)                      Exclusions to Coverage ..................................................16
                           (b)        Excess Layer Policies ....................................................................17
                 2.        XL Specialty Insurance Company Cornerstone A-Side
                           Management Liability Insurance Policy ....................................................17
                 3.        D&O Insurance Analysis ...........................................................................18
       E.        D&O Indemnification Agreements ........................................................................18
       F.        Voyager’s Business ................................................................................................19
                 1.        Brokerage Services ....................................................................................20
                 2.        Custodial Services ......................................................................................20
                 3.        Lending Program .......................................................................................21
                 4.        Staking .......................................................................................................22



                                                                  i
22-10943-mew    Doc 1000-1 Filed 02/14/23                          Entered 02/14/23 08:18:13                          Exhibit A -
                          Redacted Report                          Pg 4 of 70



          5.        Customer FBO Accounts ...........................................................................23
          6.
                                               ......................................................................................23
     G.   Circumstances Leading to the Chapter 11 Cases ...................................................24
          1.        Terra Luna Collapse ...................................................................................24
          2.        3AC Collapse .............................................................................................24
          3.        The Gates ...................................................................................................25
     H.   Risk Committee .....................................................................................................26
          1.        Voyager Grows Its Lending Program and Kind Of Formalizes Its
                    Risk Committee .........................................................................................26
          2.        The Lending Diligence Process .................................................................27
          3.        Lending Practices and Procedures .............................................................29
     I.   The 3AC Loans ......................................................................................................30
          1.        Background of Relationship ......................................................................30
          2.        Due Diligence ............................................................................................30
          3.        Loans Made under the 3AC MLA .............................................................35
          4.        Relative Size of Loans to 3AC...................................................................36
          5.        3AC’s Participation in Equity Raise ..........................................................37
          6.        Re-Rating of the 3AC Loan .......................................................................38
          7.        Voyager Recalls the 3AC Loan .................................................................38
          8.        3AC Commences Liquidation Proceedings ...............................................39
          9.        3AC Loans from Other Lenders ................................................................40
     J.   Other Loans Made by Voyager ..............................................................................41
     K.   Customer Agreement .............................................................................................42
                                     .................................................................................................43
                                                                                     ................................................43

                                       ...............................................................................................46

                                                      ...............................................................................46

                                              .......................................................................................47
     M.   Intercompany Transactions and Insider Payments ................................................49
          1.        Intercompany Transactions ........................................................................49


                                                          ii
22-10943-mew         Doc 1000-1 Filed 02/14/23                           Entered 02/14/23 08:18:13                          Exhibit A -
                               Redacted Report                           Pg 5 of 70



               2.        Insider Payments ........................................................................................50
               3.        Side-A D&O Insurance Policy...................................................................50
IV.   LEGAL FRAMEWORK ...................................................................................................50
      A.       Note on Claims Considered ...................................................................................50
      B.       Choice of Law ........................................................................................................51
      C.       Applicable Breach of Fiduciary Duty Law ............................................................51
                                                                 ..........................................................................52
                                                                                           ...............................................52
                                                                                   ........................................................55

                                                                  .........................................................................56

                                          ..................................................................................................58
V.    CONCLUSIONS AND RECOMMENDATIONS ............................................................59
                                                                                                                                 .........59

                                                                ...........................................................................60

                                                ...........................................................................................60
      D.       Cost-Benefit Analysis ............................................................................................61
               1.        Litigation of These Claims Will Be Costly................................................61
               2.        Limited Potential Sources of Recovery .....................................................61
               3.        Officers May Have Indemnification Claims Against the Estate ................62
                                                                              .............................................................62




                                                               iii
22-10943-mew          Doc 1000-1 Filed 02/14/23            Entered 02/14/23 08:18:13          Exhibit A -
                                Redacted Report            Pg 6 of 70



I.      EXECUTIVE SUMMARY OF THE SPECIAL COMMITTEE’S FINDINGS AND
        CONCLUSIONS1

         Voyager Digital, LLC (“Voyager LLC” and with its affiliates, “Voyager” or the
“Company”) is a cryptocurrency brokerage that allows customers to buy, sell, trade, and store
cryptocurrency on its platform. Voyager was founded in 2018 by a group of financial and tech
entrepreneurs, with the stated purpose of bringing “choice, transparency, and cost efficiency to
cryptocurrency investors and was designed to be ‘accessible to all’ by focusing on the needs of
retail investors.”2 Within 4 years, Voyager’s platform evolved into a brokerage with 3.5 million
users and more than $5.9 billion of cryptocurrency assets held.

        Voyager makes money by brokering and/or executing cryptocurrency trades between its
customers and exchanges and liquidity providers, and retaining all or a portion of the spread
between the price quoted to the customer and the ultimate executed trade price. In order to
attract and retain customers, Voyager offers its customers “rewards,” comprising issuance of its
own proprietary Voyager token and, to a greater degree, “payment-in-kind” interest on customer
coins deposited on Voyager’s platform.

        Voyager funded its customer Rewards Program through yield-generating activities;
namely, lending large amounts of its customers’ cryptocurrencies to third parties at varying
interest rates, as well as “staking” its customers’ cryptocurrencies. As Voyager’s customer base
quickly expanded, Voyager needed to identify and lend to additional and larger lending
counterparties in order to continue to fund the Rewards Program which, even then, was a loss-
leader.

       Meanwhile, the Company itself was experiencing dramatic growth. What began as an
operation based out of a 15-seat WeWork co-working space in Manhattan with a handful of
employees exploded into company with approximately 350 employees.




        Beginning in May 2021, Voyager added to its legal department by hiring David Brosgol
to serve as General Counsel, Manisha Lalwani to address regulatory legal issues, and David Brill
to focus on corporate legal issues. Additionally, through 2021 and 2022, Voyager attempted to
formalize existing processes. For example, prior to 2021, lending risks were discussed on an
informal basis among a handful of members from Voyager’s management, treasury, and finance
teams, including CEO Stephen Ehrlich and the Company’s then-CFO, Evan Psaropoulos, Chief
Operating Officer, Gerard Hanshe, and Treasury Director, Ryan Whooley, but by fall of 2021, an
effort was underway to establish a more formal “Risk Committee.” And lending guidelines were
being introduced—such as the amount of Voyager’s assets on platform that could be loaned out


        1
            Capitalized terms not otherwise defined in Section I have the meanings given to them herein.
        2
           Declaration of Stephen Ehrlich, Chief Executive Officer of the Debtors, in Support of Chapter
11 Petitions and First Day Motions (Dkt. No. 15) (“First Day Decl.”) ¶ 19.
22-10943-mew       Doc 1000-1 Filed 02/14/23           Entered 02/14/23 08:18:13        Exhibit A -
                             Redacted Report           Pg 7 of 70



at any one time, as well as caps on loan amounts based on the assets of each borrower—although
these guidelines were characterized more as “soft” rules and were not strictly followed. The
guidelines developed over time and the Risk Committee was not formally established by charter
until May 4, 2022.

       Meanwhile, in early March 2022, Voyager entered into a master loan agreement with
Three Arrows Capital Ltd. (“3AC”), a cryptocurrency hedge fund based in Singapore. Between
March 8, 2022 and May 5, 2022, Voyager loaned 350 million USDC (at 9-10% interest) and
15,250 Bitcoin (at 2-3% interest) on an unsecured basis (the “3AC Loans”)—which, as of the
beginning of June 2022, represented a quarter of Voyager’s total assets on platform.




        At the same time, the crypto markets were experiencing significant volatility as a result
of several macro factors, including concerns over inflation and the onset of hostilities in Ukraine.
Then, in mid-May 2022, the value of Terra USD (“Terra”) and its companion LUNA coin
(“Luna”) completely collapsed. Despite checking in with 3AC on several occasions, Voyager
did not learn of 3AC’s significant exposure to Luna until the middle of June 2022, shortly before
Voyager attempted to recall the entirety of the 3AC Loans. 3AC did not repay any portion of the
loans. Simultaneously, severe industry headwinds caused customers to seek to withdraw their
assets from the Voyager platform. Despite limiting and then pausing customer withdrawals,
Voyager was unable to save its business without filing for chapter 11 relief.

        Contemporaneous with its chapter 11 filing, the Voyager LLC Board established the
Special Committee to, among other things, investigate Voyager LLC’s historical transactions,
including the 3AC Loans. At the Special Committee’s direction, Quinn Emanuel Urquhart &
Sullivan, LLP (“Quinn Emanuel”) has conducted a more than two-month investigation (the
“Investigation”) into the Voyager LLC estate’s potential causes of action against its insiders
arising from the 3AC Loans, or other business practices.

       Upon consideration of the factual record developed over the course of the Investigation
and research and analysis of relevant legal theories, Quinn Emanuel has concluded




                                                 2
22-10943-mew          Doc 1000-1 Filed 02/14/23           Entered 02/14/23 08:18:13   Exhibit A -
                                Redacted Report           Pg 8 of 70




         While Voyager LLC may have non-frivolous claims against its officers, the costs of
litigating these claims (including expert fees) will be significant. There are D&O insurance
policies providing up to $20 million of coverage; however, the officers will have first-priority
access to those funds




                                             Mr. Ehrlich monetized approximately $30 million
worth of Voyager stock in 2021, albeit he asserts that all but $6 million of the shares were owned
by others (primarily family members). During the Investigation, several members of the Risk
Committee confirmed they own some amount of cryptocurrency assets, which are held on
Voyager’s platform.



II.    PROCEDURAL BACKGROUND

       A.        THE BANKRUPTCY FILING

      Voyager LLC filed for chapter 11 relief on July 5, 2022 (the “Petition Date”) in the
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).4 Voyager
LLC and its affiliated debtors and debtors in possession—Voyager Digital Holdings, Inc. and




       4
            See Chapter 11 Voluntary Petition for Non-Individual (Dkt. Nos. 1, 3)




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22-10943-mew          Doc 1000-1 Filed 02/14/23          Entered 02/14/23 08:18:13        Exhibit A -
                                Redacted Report          Pg 9 of 70



Voyager Digital Ltd. (collectively, the “Debtors”)—continue to operate their businesses and
manage their properties under section 1107 of the Bankruptcy Code.

        On July 19, 2022, the United States Trustee for the Southern District of New York
appointed the UCC pursuant to section 1102 of the Bankruptcy Code. 5 The UCC comprises
seven individual customers of Voyager LLC.6 On July 22, 2022, the UCC selected McDermott
Will & Emery LLP (“MWE”) as its legal counsel and FTI Consulting (“FTI”) to serve as
financial advisor.7

       B.        SPECIAL COMMITTEE APPOINTMENT AND MANDATE

       On July 5, 2022 the Board of Directors of Voyager LLC (the “Board”), by unanimous
written consent (the “UWC”), established the Special Committee, comprising the two
independent directors of the Board, Jill Frizzley and Timothy Pohl (the “Independent
Directors”).8

        Pursuant to the UWC, the Board authorized and empowered the Special Committee to
exercise all the powers and authority of the Board, and to act on behalf of the Board, to the
fullest extent permitted under Delaware law and the Third Amended and Restated Limited
Liability Company Agreement of Voyager LLC (the “Operating Agreement”) with respect to the
following matters:

                 (a)     investigating any historical transactions, public reporting, or regulatory
                 issues undertaken by Voyager LLC that the Special Committee deems necessary
                 or appropriate, and the facts and circumstances surrounding such transactions;

                 (b)     interviewing and soliciting information and views from management,
                 representatives, consultants, advisors, or any other party in connection with any
                 historical transactions undertaken by Voyager LLC that the Special Committee
                 deems necessary and appropriate;

                 (c)     requesting documentation and information regarding Voyager LLC’s
                 business, assets, properties, liabilities and business dealings with respect to any
                 historical transactions undertaken by Voyager LLC that the Special Committee
                 deems necessary and appropriate to review; and




       5
            See Amended Appointment of Official Creditors’ Committee (Dkt. No. 106).
       6
            See id.
       7
          See Application to Employ McDermott Will & Emery LLP as Counsel to the Official Committee
of Unsecured Creditors of Voyager Digital Holdings, Inc., et al. (Dkt. No. 317); Application to Employ
FTI Consulting, Inc. as Financial Advisor to the Official Committee of Unsecured Creditors of Voyager
Digital Holdings, Inc., et al. (Dkt. No. 318).
       8
            See UWC at 1.




                                                   4
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13               Exhibit A -
                                Redacted Report Pg 10 of 70



                  (d)    performing any other activities consistent with the matters described in the
                  UWC or as the Special Committee or the Board otherwise deems necessary and
                  appropriate.9

        The UWC further provides that the Special Committee has the sole authority to
prosecute, settle, or extinguish any and all claims and causes of action arising from the historical
transactions that are investigated by the Special Committee, and to retain advisors, including
legal counsel, financial advisors, or other consultants or experts to advise the Special Committee
(with (a)-(d), the “Special Committee Mandate”).10

        In addition to the establishment of the Special Committee, an independent director was
appointed to the board of directors of each of Voyager Digital Ltd. (Matthew Ray) and Voyager
Digital Holdings, Inc. (Scott Vogel).

       C.         RETENTION OF PROFESSIONALS

        On July 13, 2022, the Special Committee selected Quinn Emanuel to serve as special
counsel to Voyager LLC to provide independent advice to, and act at the exclusive direction of,
the Special Committee in connection with the Special Committee’s Mandate.11 Voyager LLC
retained Quinn Emanuel pursuant to an engagement letter dated as of July 16, 2022.12 The
Bankruptcy Court approved Voyager LLC’s retention of Quinn Emanuel as special counsel
pursuant to sections 327(e) and 328(a) of the Bankruptcy Code on August 4, 2022.13

        The Debtors’ financial advisor, Berkeley Research Group, LLC (“BRG”) has provided
assistance to and performed analysis for Quinn Emanuel and the Special Committee throughout
the Investigation.

       D.         STIPULATED PROTECTIVE ORDER

       On August 23, 2022, the Debtors, the Special Committee, and the UCC entered into the
Common Interest Confidentiality Stipulation and Protective Order (the “Protective Order”)
pursuant to which the parties (the “Common Interest Parties”) agreed to the protections afforded


       9
            See id. at 1-2.
       10
            See id. at 2.
       11
           See Application to Employ Quinn Emanuel Urquhart & Sullivan LLP as Special Counsel to
Debtor Voyager Digital, LLC’s Application for Entry of an Order Pursuant to 11 U.S.C. §§ 327(e) and
328(a) and Fed. R. Bankr. P. 2014, 2016 and 5002 Authorizing Employment and Retention of Quinn
Emanuel Urquhart & Sullivan, LLP as Special Counsel to Voyager Digital, LLC Effective July 13, 2022
(Dkt. No. 125).
       12
            See id. at Ex. 1.
       13
            See Order Pursuant to 11 U.S.C. § 327(e) and 328(a) and Fed. R. Bankr. P. 2014, 2016 and
5002 Authorizing Debtor Voyager Digital, LLC to Employ and Retain Quinn Emanuel Urquhart &
Sullivan, LLP as Special Counsel Effective July 13, 2022 (Dkt No. 242).




                                                   5
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                  Exhibit A -
                               Redacted Report Pg 11 of 70



to “Confidential” and “Highly Confidential” discovery material.14 Given the unique features of
the Debtors’ Chapter 11 Cases, including that the Debtors have no material creditor constituency
other than customers, whose interests are represented by the UCC, the Common Interest Parties
agreed that the attorney-client privilege and the attorney work-product doctrine would be
preserved with respect to privileged documents and information shared among counsel for the
Common Interest Parties.15 The Bankruptcy Court entered the Protective Order on September
13, 2022.16

       E.        DISCOVERY CONDUCTED IN FURTHERANCE OF INVESTIGATION

        The Special Committee’s discovery efforts consisted of three primary methods of
gathering information: (a) interviews with Voyager’s officers, director and employees;
(b) review of documents produced by Voyager in response to document requests; and
(c) research of publicly available information.

        The interviews, while not transcribed, were attended by at least two Quinn Emanuel
attorneys, with at least one attorney tasked with taking meticulous notes. A total of 12
interviews were conducted with the following individuals on the following dates:

        Name                                        Title                                Date of
                                                                                        Interview
David Brill                Deputy General Counsel; Risk Committee                     Sept. 14, 2022
                           Member (non-voting)
David Brosgol              General Counsel; Risk Committee Member                     Sept. 1, 2022
Jonathan Brosnahan         Treasurer; Risk Committee Member (non-voting)              Aug. 31, 2022
Stephen Ehrlich            Chief Executive Officer; Risk Committee Chair              Sept. 12, 2022
Gerard Hanshe              Chief Operating Officer; Risk Committee Member             Sept. 8, 2022
Marshall Jensen            Head of Corporate Development; Risk Committee              Sept. 8, 2022
                           Member
Pam Kramer                 Chief Marketing Officer                                     Sept. 9, 2022
Manisha Lalwani            Counsel – Regulatory                                        Sept. 6, 2022
Ashwin Prithipaul          Chief Financial Officer (since May 2022); Risk              Sept. 6, 2022
                           Committee Member
Evan Psaropoulos           Chief Commercial Officer; Chief Financial Officer          Sept. 13, 2022
                           (prior to May 2022); Risk Committee Member
Brian Silard               Operations Data Analyst                                    Aug. 31, 2022
Ryan Whooley               Treasury Director and Product Manager; Risk                Sept. 7, 2022
                           Committee Member (non-voting)


       14
            See Notice of Presentment of Common Interest Confidentiality Stipulation and Protective
Order (Dkt. No. 342) at Ex. A.
       15
            See id. ¶ 6.
       16
            See Common Interest Confidentiality Stipulation and Protective Order (Dkt. No. 408).




                                                   6
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13              Exhibit A -
                              Redacted Report Pg 12 of 70



        In addition to these interviews, Quinn Emanuel attorneys attended two two-hour
videoconferences with Evan Psaropoulos, Ryan Whooley, BRG, the Debtors’ general
restructuring counsel, Kirkland & Ellis, LLP (“Kirkland”), MWE, and FTI regarding Voyager’s
staking program (discussed below).

       The Special Committee also requested documents and information responsive to
approximately 30 separate requests.17 Quinn Emanuel received and reviewed approximately
11,000 documents consisting of approximately 40,000 pages responsive to these document and
information requests.

       F.       COORDINATION WITH THE UCC

       From the outset of the Investigation, Quinn Emanuel coordinated closely with the UCC’s
professionals, MWE and FTI. Specifically, Quinn Emanuel and MWE held three meetings
concerning the Special Committee Mandate and/or the status and progress of the Investigation,
and Quinn Emanuel invited MWE and FTI to sit in on—and ask questions during—the Special
Committee’s interviews of Voyager officers, director, and employees. Additionally, Quinn
Emanuel and MWE attended three joint meet-and-confers with Kirkland regarding the status of
document discovery.

       G.       SPECIAL COMMITTEE MEETINGS

       Through the course of the Investigation, Quinn Emanuel held five formal
videoconference meetings with the Special Committee, in which Quinn Emanuel updated the
Special Committee members on the status of the Investigation and the bankruptcy case. The
members of the Special Committee were engaged, and asked many questions regarding the facts
being developed and potentially applicable legal theories. Additionally, the Special Committee
attended a videoconference meeting with BRG concerning the Debtors’ going-forward business
plan. These meetings were in addition to the Independent Directors’ participation in several
Board meetings concerning the Debtors’ general case trajectory including their sale efforts.

III.   RELEVANT FACTUAL BACKGROUND AND FINDINGS

       A.       VOYAGER’S CORPORATE STRUCTURE

        As set forth in the corporate structure chart below, Debtor Voyager Digital Ltd. currently
owns, directly or indirectly, Voyager Digital Holdings, Inc. and Voyager LLC. Voyager Digital
Ltd. is a public company that has traded on the Toronto Stock Exchange since 2021 under the
ticker “VOYG.”18 As of the Petition Date, Voyager Digital Ltd. had approximately 196,000,000
shares of common stock outstanding, approximately 9.5% of which is held by Alameda Research


       17
           See Special Committee’s Initial Document Requests to Voyager LLC, dated July 7, 2022;
Special Committee’s First Supplemental Document Requests to Voyager LLC, dated Aug. 1, 2022;
Special Committee’s Second Supplemental Document Requests to Voyager LLC, dated Aug. 10, 2022.
       18
            First Day Decl. ¶ 19.




                                                7
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13      Exhibit A -
                                Redacted Report Pg 13 of 70



Ventures LLC and Alameda Ventures Ltd. (together and with their affiliates, “Alameda”) with
the remainder widely held by investors.19




       B.       VOYAGER LLC’S DIRECTORS & OFFICERS

       Voyager LLC’s directors and officers (“D&Os”) are as follows:

                   Stephen Ehrlich     Chief Executive Officer & Director
                   Gerard Hanshe       Chief Operations Officer
                   Pam Kramer          Chief Marketing Officer
                   Ashwin Prithipaul   Chief Financial Officer
                   Michael Legg        Chief Communications Officer
                   Evan Psaropoulous   Chief Commercial Officer


       19
            Id. ¶ 36




                                              8
22-10943-mew            Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13             Exhibit A -
                                 Redacted Report Pg 14 of 70



                    Daniel Constantino     Chief Information Security Officer
                    Rakesh Gidwani         Chief Technology Officer
                    Mark Egert             Chief Compliance Officer
                    Janice Barrilleaux     Chief Administrative Officer
                    Timothy Pohl           Independent Director (Post-Petition)
                    Jill Frizzley          Independent Director (Post-Petition)

        As noted above, Quinn Emanuel conducted interviews with twelve individuals from
Voyager, including many of the Company’s officers. Background on the relevant interviewees is
set forth below.

        Stephen Ehrlich, Chief Executive Officer and Director. Mr. Ehrlich co-founded
Voyager in 2018.20 Previously, he was CEO at E*TRADE Professional Trading LLC, where he
led the management buyout of the Lightspeed division, as a result of which he became CEO of
Lightspeed Financial, LLC.21 He holds an accounting degree from Franklin & Marshall
College.22 He is the CEO of Voyager LLC and is on the Board of Voyager LLC. Mr. Ehrlich
also sits on the board of directors of Voyager Digital Ltd. Mr. Ehrlich holds roughly $90,000 to
$100,000 worth of cryptocurrency assets on the Voyager platform.23

        Evan Psaropoulos, Chief Commercial Officer and former Chief Financial Officer.
Mr. Psaropoulos’s career began in public accounting at PricewaterhouseCoopers LLP, then he
transitioned to leveraged finance at Credit Suisse and to senior finance leadership roles at various
public and private companies.24 Mr. Psaropoulos joined Voyager in September of 2020. As
CFO, Mr. Psaropoulos was responsible for the financial performance of the business; he
monitored rewards inflows and outflows, and he was responsible for analyzing lending risks,
including evaluating the credit risk of Voyager’s borrowers.25 His title was changed in May of
2022 to Chief Commercial Officer, when Ashwin Prithipaul was appointed to serve as CFO.26
He holds a degree in Accountancy from John Carroll University and an M.B.A. from Cornell
University and is a CPA.27 Mr. Psaropoulos has a “few” hundred thousand dollars invested in
crypto, all of which is stored on Voyager’s platform.28



       20
            Id. at Ex. M.
       21
            Id.
       22
            Id.
       23
            Summary of Interview with S. Ehrlich (“Ehrlich”) at 1.
       24
            First Day Decl. at Ex. M.
       25
            Summary of Interview with E. Psaropoulos (“Psaropoulos”) at 2-3.
       26
            Id. at 2.
       27
            First Day Decl. at Ex. M.
       28
            Psaropoulos at 2.




                                                    9
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                     Exhibit A -
                               Redacted Report Pg 15 of 70



        Ashwin Prithipaul, Chief Financial Officer. Prithipaul started at Voyager only on May
16, 2022, after Psaropoulos assumed the role of Chief Commercial Officer.29 Previously, Mr.
Prithipaul was appointed as CFO at DriveDigital LLC and Galaxy Digital Holdings Ltd., which
the Company believed would be helpful from a regulatory standpoint. As CFO of Voyager LLC,
Mr. Prithipaul directly reports to the CEO, Mr. Ehrlich, and is charged with overseeing the
financial health and financial statements of Voyager.30 On September 23, 2022, Voyager
announced that Mr. Prithipaul “will depart from the Company after a transition period.”31

        Gerard Hanshe, Chief Operating Officer. Mr. Hanshe joined Voyager in 2018 and
became Chief Operating Officer in November 2020. As COO, he is responsible for the data
analysis and operations teams, and works closely with the customer service and treasury teams.32
Prior to joining Voyager, Hanshe practiced law and served as product manager, and data and
business analyst for a large public legal services firm. 33 Mr. Hanshe was also a professional
trader, and principal of a direct access equities broker.34 He holds a law degree from St. John’s
University School of Law and finance and MBA degrees from Hofstra University.35 Mr. Hanshe
has an undisclosed sum of crypto assets, all on the Voyager platform. 36

       Pam Kramer, Chief Marketing Officer. Pam Kramer’s duties include overseeing the
brand, advertising, marketing, social media, and customer insights.37 Ms. Kramer joined
Voyager in 2021. She was previously Chief Product Officer and then Chief Marketing Officer at
E*TRADE, CMO and General Manager of MarketTools/Zoomerang (now part of
SurveyMonkey), and LendingClub’s first CMO. Ms. Kramer holds an M.A. in East Asian
Studies from Cornell University and a B.A. in English Literature and Political Science from the
University at Buffalo.38

        Marshall Jensen, Head of Corporate Development. Mr. Jensen joined the Voyager in
late 2021 to focus on acquisition opportunities and lead strategic initiatives related to Voyager’s
expansion of its product offering and geographic reach. 39 Mr. Jensen began his career as a
corporate lawyer at Shearman and Sterling, then transitioned to traditional banking roles at

       29
            Summary of Interview with A. Prithipaul (“Prithipaul”) at 2; Psaropoulos at 2.
       30
            Prithipaul at 2.
       31
                  Press Release, Voyager Announces CFO Departure,                     Sept.   23,   2022,
https://www.investvoyager.com/pressreleases/voyager-announces-cfo-departure/.
       32
            Summary of Interview with G. Hanshe (“Hanshe”) at 1.
       33
            First Day Decl. at Ex. M.
       34
            Id.
       35
            Id.
       36
            Hanshe at 2.
       37
            First Day Decl. at Ex. M.
       38
            Id.
       39
            Id.




                                                   10
22-10943-mew            Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13           Exhibit A -
                                 Redacted Report Pg 16 of 70



companies such as UBS and Fort Mason Capital. His first experience in the cryptocurrency
industry began in late 2017, when he began working at Digital Asset Custody Company, Inc.
(“DACC”), a start-up crypto custodian platform. There, he did financing and corporate
development work, and established the company’s initial infrastructure.40

       David Brosgol, General Counsel. Mr. Brosgol has been Voyager’s general counsel
since he joined the Company in February of 2021.


             Brosgol attended UVA Law School and after practicing law at Hogan & Hartson, he
worked in-house at various financial firms, including as asset manager in alternative products; as
General Counsel and Managing Director at hedge fund Maverick Capital; and as a manager and
advisor at crypto company Anchorage. 43 He also cofounded DACC, which sought to become a
leader in the custodial space for digital assets and was acquired by Bakkt. 44

        Ryan Whooley, Treasury and Product Manager. Mr. Whooley started at Voyager in
2019 after over eight years at Teneo, where he consulted on general corporate strategy, focusing
on communications, data science, and the creation and sales of data projects. 45 At Voyager, Mr.
Whooley oversees most of the operations that relate to customer crypto assets, including
executing trades for customers and creating the trading product. 46 He is the point of contact for
Voyager’s trading partners and borrowers.47 He is also active in the Company’s custody
operations and capital markets yield function (i.e., lending and staking), which includes day-to-
day check-ins with trading and lending partners. 48 Whooley has an undisclosed, but sizable, sum
of crypto assets, all stored on the Voyager platform.49

      Jon Brosnahan, Treasurer. Mr. Brosnahan joined Voyager in December of 2021.
Brosnahan’s responsibilities include overseeing cash-related treasury and crypto processes.50 He




       40
            Id.
       41
            Id.


       43
            First Day Decl. at Ex. M.
       44
            Id.
       45
            Summary of Interview with R. Whooley (“Whooley”) at 1.
       46
            Id.
       47
            Id.
       48
            Id.
       49
            Id. at 2.
       50
            Summary of Interview with J. Brosnahan (“Brosnahan”) at 1.




                                                 11
22-10943-mew              Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13     Exhibit A -
                                   Redacted Report Pg 17 of 70



reports to the CFO, which until May 2022 was Mr. Psaropoulos.51 Mr. Brosnahan was tasked
with overseeing the diligence process for both new and existing borrowers.52

        Manisha Lalwani, Regulatory Counsel. Ms. Lalwani joined Voyager in August of
2021. Prior to joining Voyager, she worked at Bank of Montreal, where she focused on legal
     53

issues related to crypto-based ETFs.54




       David Brill, Deputy General Counsel. Brill joined Voyager in March of 2021, and has
primarily focused on legal issues related to the commercial activities of the Company.57



          C.         VOYAGER LLC OPERATING AGREEMENT

       Voyager LLC’s Operating Agreement, which was originally entered into on January 23,
2018 (the “Original Operating Agreement”), has been amended and restated three times.

                     1.        Governance

        At all relevant times, Voyager LLC was under the management and supervision of its
sole member, Voyager Digital Holdings, Inc. (the “Member”), and its day-to-day business was
conducted by officers, which were appointed by the Member. Until the Operating Agreement
was amended in July 2022 to add a board of directors, the Operating Agreement provided that
the “powers of the Company shall be exercised exclusively by or under the exclusive authority
of, and the business and affairs of the Company shall be managed under the exclusive direction
and control of the Member.”59 In other words, the Member was the manager of Voyager LLC,
and was serving the oversight role equivalent to a board of directors. The Operating Agreement
also provides that the “Member may designate employees of the Company or such individuals as

          51
               Id.
          52
               Id.
          53
               Summary of Interview with M. Lalwani (“Lalwani”) at 2.
          54
               Id.



          57
               Brill at 1-2.


           First Amended and Restated Operating Agreement, dated May 28, 2021 (the “First A&R
          59

Operating Agreement”) § 4.1.




                                                    12
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13             Exhibit A -
                               Redacted Report Pg 18 of 70



officers of the Company (the ‘Officers’) as it shall deem necessary or desirable to carry out the
business of the Company.”60

                 2.        Exculpation; No Modification of Fiduciary Duties

       The Operating Agreement does not contain provisions modifying fiduciary duties. It
does, however, contain an exculpation provision, relieving the specified parties from liability
under certain circumstances. The list of exculpated parties and the breadth of the exculpation
expanded in the course of amendments from the Original Operating Agreement. Under the
Original Operating Agreement, only Officers and the Member were exculpated. Exculpation
was limited to acts and omissions that did not result from willful misfeasance or gross
negligence, with the exception of acts and omissions in reliance on the advice of counsel or an
accountant, in which case such conduct would be fully protected.

        The Operating Agreement was amended and restated on May 28, 2021. The exculpation
provision was expanded to provide that the Member and its members, managers, directors,
Officers, employees, and agents will not be liable to the Company or the Member for acts or
omissions if, in good faith, such person determined that such conduct was in the best interests of
the Voyager LLC. In addition, the exculpation provision provided that none of the exculpated
parties would be liable if they rely in good faith on advice of professional advisors to Voyager
LLC, unless an act or failure to act resulted from their willful misfeasance or gross negligence.
Specifically, Section 4.6 of the First A&R Operating Agreement provides:

       The Member and its members, managers, directors, Officers, 61 employees and
       agents (collectively, the ‘Representatives’) shall not be liable to the Company for
       (a) the performance of, or the omission to perform, any act or duty on behalf of
       the Company if, in good faith, such Person determined that such conduct was in
       the best interests of the Company, (b) the termination of the Company and this
       Agreement pursuant to the terms hereof, and (c) the performance of, or the
       omission to perform, any act on behalf of the Company in good faith reliance on
       advice of legal counsel, accountants or other professional advisors to the
       Company, unless such act or failure to act resulted from their respective willful
       misfeasance or gross negligence. The Member and the officers may consult with
       counsel and accountants in respect of Company affairs and shall be fully protected
       and justified in any action or inaction which is taken in accordance with the
       advice or opinion of such counsel or accountants.62



       60
            Id. at § 4.2(a).




       62
            Id. at § 4.6




                                                 13
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13            Exhibit A -
                                Redacted Report Pg 19 of 70




        There were two subsequent amended and restated Voyager LLC Operating Agreements,
neither of which altered the exculpation provision, except that the most recent amended and
restated Voyager LLC Operating Agreement, dated July 4, 2022, added Directors to the list of
exculpated parties at the same time that the Directors were added as the governing body of
Voyager LLC.

                  3.     Indemnification Provision

       In addition to exculpation, the Operating Agreement indemnifies the same individuals,
except for “fraud, willful misconduct, or gross negligence.”64 Specifically, Voyager LLC, its
receiver or its trustee:

       shall indemnify, defend and hold the Member (and its Representatives) harmless
       from and against any expense, loss, damage or liability incurred or connected
       with, or any claim, suit, demand, loss, judgment, liability, cost or expense
       (including reasonable attorneys’ fees) arising from or related to, the Company or
       any act or omission of such Person on behalf of the Company, and amounts paid
       in settlement of any of the foregoing, provided that the same were not the result of
       fraud, willful misconduct or gross negligence on the part of the Person against
       whom a claim is asserted. The Company shall advance reasonable attorneys’ fees
       and other costs and expenses incurred by the Member and the officers in
       connection with the defense of any pending or threatened action or proceeding
       which arises out of conduct that is the subject of the indemnification provided
       hereunder, subject to the agreement of the Member or officer, as the case may be,
       to reimburse the Company for such advance to the extent that it shall finally be
       determined by a court of competent jurisdiction that the Member or officer was
       not entitled to indemnification under this Section[.]65

       D.         VOYAGER’S D&O INSURANCE

       As detailed below, Voyager Digital Ltd. purchased a primary insurance policy and one
excess layer of coverage along with a Side-A Policy for a total available limit of $20 million
applicable to the claims that are the subject of the Investigation. However, the putative




       64
            Operating Agreement § 4.7.
       65
            Id.




                                               14
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                       Exhibit A -
                              Redacted Report Pg 20 of 70



defendants will have first-priority access to apply those funds to their defense costs


                1.      XL Specialty Insurance Company Management Liability Policy
                        (Primary)

        XL Specialty Insurance Company Policy Number ELU181214-22 provides Executive
and Corporate Securities Liability insurance (the “Management Liability Policy” or the “Policy”)
to the Named Insured, Voyager Digital Ltd. and its subsidiaries as defined by the Management
Liability Policy. It has effective dates of February 22, 2022 to July 1, 2023 67 and a maximum
aggregate limit of $5 million, including all Defense Expenses as defined by the Management
Liability Policy.

       The Management Liability Policy provides coverage only to Insured Persons68 under the
Policy and all coverages that would otherwise be available to the Company 69 (defined to include
Voyager LLC) have been deleted by endorsement.

Specifically, the Policy provides: “The Insurer shall pay on behalf of Insured Persons Loss70




       67
         The Policy Period was extended by endorsement from February 22, 2023 to July 1, 2023.
Management Liability Policy, Endorsement No. 40.
       68
            “Insured Persons” is defined to mean, among other things:
       (1) Any past, present or future natural person director or officer, or member or manager
           of the board of managers, of the Company and those persons serving in a functionally
           equivalent role for the Parent Company or any Subsidiary operating or incorporated
           outside the United States;

       (2) Any past, present or future natural person employee of the Company (other than an
           individual described in (J)(1) above) to the extent any Claim is: (a) a Securities claim,
           or (b) made and maintained against both such employee and an Insured Person as
           defined in (J)(1) above . . . .

Id. § (II)(J) (as amended by Endorsement No. 28).
       69
             “Company” is defined as “the Parent Company and any Subsidiary created or acquired on or
before the Inception Date set forth in Item 2 of the Declaration or during the Policy Period, subject to
General Conditions VI(D). The term Company shall include any such entity as a debtor in possession, as
such term is used in Chapter 11 of the United States Bankruptcy Code or any equivalent provision in any
foreign jurisdiction.” The term “Company” expressly includes Voyager LLC by endorsement. Id. § II(D)
& Endorsement No. 5.
       70
              “Loss” is defined as “damages, judgments, settlements pre-judgment and post-judgment
interest or other amounts (including punitive, exemplary or multiplied damages, where insurable by law)



                                                    15
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                     Exhibit A -
                               Redacted Report Pg 21 of 70



resulting from a Claim 71 first made against the Insured Persons during the Policy Period . . . for a
Wrongful Act72, except to the extent such Loss is paid by any other Insurance Program or as
indemnification from any source.”73

                         (a)               Exclusions to Coverage

        Even though the Policy includes an insured versus insured exclusion, the “DIP Insured v.
Insured Endorsement” provides that the insured versus insured exclusion “will not apply to a
Claim brought in the name or on behalf of the Company as a debtor-in-possession against an
Insured Person and which Claim is made and continuously maintained without the solicitation,
assistance, participation or intervention of an Insured Person.”74




that any insured is legally obligated to pay and Defense Expenses, including that portion of any settlement
which represent the claimant’s attorneys’ fees.” Id. § II(O) (as amended by Endorsement No. 14).
        71
             “Claim” is defined to mean, among other things, “any civil, criminal, administrative or
regulatory proceeding commenced by: (a) service of a complaint or similar pleading. . . .” Id. § II(C). As
such, an action against Insured Persons will be considered a Claim under the Management Liability
Policy.
        72
            “Wrongful Act” is defined to mean, among other things, “[a]ny actual or alleged act, error,
omission, misstatement, misleading statement, neglect or breach of duty by an Insured Person while
acting in his or her capacity as such or due to his or her status as such . . . .” Id. § II(U)(1). By
endorsements, the definition of Wrongful Act is amended to include wrongful conduct by an Insured
Person “while acting in his or her capacity as a Selling Shareholder” or “Controlling Person.” Id. at
Endorsement Nos. 8 & 26. The definition of Wrongful Act is broad and the allegations against the
Insured Persons should meet the definition of Wrongful Acts.
        73
             Id. § I(A) as amended by Endorsement No. 2.
        74
             Id. at Endorsement No. 12.
        75
             Id. § III(B)(3) (as amended by Endorsement No. 18).




                                                    16
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                      Exhibit A -
                              Redacted Report Pg 22 of 70




                        (b)     Excess Layer Policies

      There is one excess layer above the primary Management Liability Policy, currently split
between three insurers.

        The excess layer of $5 million, which includes amounts paid for Defense Expenses, is in
effect from February 22, 2022 to February 22, 2023 and is split between two policies: (1) a
policy issued by Certain Underwriters at Lloyd’s of London and Associated Industries Insurance
Company covering the first $2 million of the $5 million (the “Lloyd’s Excess Policy”); and (2) a
policy issued by Relm Insurance Ltd. covering the second $3 million of the $5 million (the
“Relm Excess Policy”).

        The Lloyd’s Excess Policy and the Relm Excess Policy terminate on February 22, 2023
and the renewal policy is an XL Specialty Insurance Company Excess Policy with limits of $5
million. This Policy, however, will not respond to any claims brought against individuals within
the prior policy period to the extent those claims are brought prior to February 22, 2023.

                2.      XL Specialty Insurance Company Cornerstone A-Side Management
                        Liability Insurance Policy

       In addition to the Management Liability Policy and excess policies, XL issued a
Cornerstone A-Side Management Liability Insurance Policy to Voyager Digital Ltd., Policy
Number ELU184179-22 (the “Side-A Policy”). It has effective dates of July 1, 2022 to July 1,
2023 and an aggregate limit of liability of $10 million, which may only be applied to cover costs,
including Defense Expenses, of the Insured Persons.77 It sits above the Management Liability
Policy and the two excess policies as a second layer excess policy.




        77
             “Insured Persons” means: “any past, present, or future director or officer, fiduciary, general
counsel, member of the Board of Managers or any employed lawyers acting in their legal capacity(ies), of
the Company and any person serving in a functionally equivalent role for the Parent Company or any
Subsidiary operating or incorporated outside the United States . . . .” Id. § II(I). “Company” in turn is
defined to mean: “the Parent Company and any Subsidiary created or acquired on or before the inception
date set forth in ITEM 2 of the Declarations or during the Policy Period, subject to CONDITION (C).
Company shall include the Parent Company or any Subsidiary as a debtor in possession, as such term is
used in Chapter 11 of the United States Bankruptcy Code.” Id. § II(C).




                                                    17
22-10943-mew        Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13               Exhibit A -
                             Redacted Report Pg 23 of 70



               3.     D&O Insurance Analysis




       E.      D&O INDEMNIFICATION AGREEMENTS

        Voyager LLC, Voyager Digital Holdings, Inc., and Voyager Digital Ltd. have entered
into separate indemnification agreements with officers and certain senior employees. Some
individuals entered into an indemnification agreement with only one entity, while others entered
into separate indemnification agreements with multiple entities. Voyager LLC and Voyager
Digital Holdings, Inc. used the same form agreement, while Voyager Digital Ltd. used a different
form of indemnification agreement. Although there are differences between the two forms, in
essence, both forms provide for indemnification of the officer/employee, unless the individual
acts in bad faith. One notable exception, however, is that if there is a settlement, the form used
by Voyager LLC and Voyager Digital Holdings, Inc. provides for indemnification under all
circumstances, without limitation, including all liability arising out of “active or passive
wrongdoing of the Indemnitee,” unless it would be unlawful to indemnify.




                                               18
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13               Exhibit A -
                                Redacted Report Pg 24 of 70



       Among the individuals who are party to an indemnification agreement with Voyager LLC
are: Stephen Ehrlich; Evan Psaropoulos; David Brosgol; Pam Kramer; Gerard Hanshe; and
Marshall Jensen.81

      With respect to proceedings by or brought in the right of Voyager, LLC, the Voyager
LLC indemnification agreement provides that the indemnitee is entitled to indemnification if:

       Indemnitee acted in good faith and in a manner Indemnitee reasonably believed
       to be in, or not opposed to, the best interests of the Company; provided,
       however, if applicable law so provides, no indemnification against such Expenses
       shall be made in respect of any claim, issue or matter in such Proceeding as to
       which Indemnitee shall have been adjudged to be liable to the Company unless
       and to the extent that the Court of Chancery of the State of Delaware or any court
       in which the Proceeding was brought shall determine upon application that,
       despite the adjudication of liability but in view of all the circumstances of the
       case, Indemnitee is fairly and reasonably entitled to indemnification for such
       Expenses as the Court of Chancery of the State of Delaware or such other court
       shall deem proper.82

       Finally, Voyager LLC is required to indemnify the indemnitee with respect to any
settlement, even in connection with liability “arising out of the negligence or active or passive
wrongdoing of the Indemnitee,” unless it is unlawful to indemnify.83



       F.        VOYAGER’S BUSINESS

       Voyager’s primary operations consist of (i) brokerage services, (ii) custodial services
through which customers earn interest and other rewards, (iii) lending, and (iv) staking.84

       All of Voyager’s customer-facing services are accessible through a mobile application
(the “Voyager App”) that users can download on their smartphones and other smart devices. 85
Customers sign up for a Voyager account on the Voyager App after digitally executing
Voyager’s customer agreement (the “Customer Agreement”), and can link their bank accounts or


       81
             As noted in Section III.C.3, Voyager LLC’s Operating Agreement requires Voyager LLC to
indemnify the Member and its members, managers, directors, Officers, employees and agents, except for
“fraud, willful misconduct or gross negligence.” See Operating Agreement § 4.7.


       82
            Voyager LLC Indemnification Agreement § 1(b) (emphasis added).
       83
            Id. § 2.
       84
            First Day Decl. ¶ 20
       85
            Id. ¶ 30




                                                 19
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                Exhibit A -
                                Redacted Report Pg 25 of 70



off-site cryptocurrency wallets to the platform to facilitate the purchase of cryptocurrency or the
transfer of the customer’s cryptocurrency on the platform.86

                  1.       Brokerage Services

        Voyager operates as a cryptocurrency “agency broker,” providing retail and institutional
customers with access to its digital platform to buy and sell crypto assets across more than a
dozen exchanges, liquidity providers, and market makers.87 The platform uses a dynamic router
and customized algorithms to execute customer orders on one or more crypto exchanges, market
makers or liquidity providers (“Exchanges”) to efficiently buy or sell cryptocurrencies on behalf
of its customers. The platform is configured to (1) quote the average price for a crypto asset in
the market, as delivered by a proprietary quoting service that aggregates Voyager’s available
liquidity and computes a price, and (2) use the smart order router to search all open Exchanges to
find a better rate than the quoted price. 88 The platform configuration is intended to provide
customers with high quality trade execution (usually defined by the best prices, certainty of
execution, reliability of the trading venue, and speed of execution).89

        The majority of Voyager’s revenue is derived from providing execution for customer-
initiated orders to buy or sell crypto assets on the platform.90 Specifically, while Voyager does
not charge a commission to its customers for effectuating a trade, Voyager does retain the spread
between the price at which Voyager is able to obtain the specified coin, and the price quoted to
the customer.91

                  2.       Custodial Services

       Digital currencies deposited by customers are stored in Voyager’s platform rather than
individualized digital wallets.92 Cryptocurrency assets are commingled on an asset-by-asset
basis and swept from Voyager’s commingled wallet to a third-party custodial account that




       86
            Id.
       87
            Id ¶¶ 21-22. The exchanges include Binance, FTX, Kraken, Coinbase, and Bitflex, among
others. See Hanshe at 2. Liquidity providers include Jump, Galaxy, Wintermute, and Jane Street, among
others. Id. Voyager preferred executing trades via liquidity providers because, unlike exchanges, they
had no prefunding requirement. Id. Exchanges, on the other hand, required that Voyager maintain assets
on the exchange platform ready to deploy to execute trades. Id. Voyager would then settle up with
customers who had executed the trades. Id.
       88
            See Hanshe at 2-3.
       89
            First Day Decl. ¶ 22.
       90
            Hanshe at 3.
       91
            Id.
       92
            First Day Decl. ¶ 23.




                                                 20
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13           Exhibit A -
                                  Redacted Report Pg 26 of 70



protects and secures keys to Voyager’s cryptocurrency deposits.93          Voyager uses several
custodial accounts depending on the specific type of coin. 94

        In the second half of 2020, Voyager instituted a new program (the “Rewards Program”)
that gave customers certain benefits for keeping their assets on-platform.95 The program, which
is similar to retail or restaurant loyalty programs, was instituted after Voyager personnel noticed
competitors instituting similar customer programs.96 The Rewards Program primarily consists of
three segments: The first is a “refer-a-friend” incentive that would give customers a small
amount of Voyager tokens (“VGX”), a digital currency issued and administered by Voyager; the
second is a program that would allow customers to share in the spread made on their trades if
Voyager was able to execute at a price lower than the listed asking price; and the final—and by
far most important piece of the Rewards Program—was the interest or yield program, where
customers would be paid a yield, akin to payment-in-kind interest (“PIK Interest”) on the coins
they deposit on Voyager’s platform.97 Customers can earn up to 12 percent on certain digital
currencies, provided that such customers maintain a minimum monthly balance and keep their
assets on Voyager’s platform.98

       Voyager’s management would set rewards rates for each coin based several factors,
including the market, company targets, estimated customer retention, and discussions with
individual customers.99 The rates were generally set on a monthly basis, though, at some time in
the second half of 2021, Voyager promised its customers that it would hold rates steady for the
remainder of the year.100 According to Mr. Psaropoulos, Voyager did a good job of staying
competitive with its rates, although they may have been too high in November and December of
2021.101

                   3.       Lending Program

       Voyager began its lending program in 2020, at approximately the same time it launched
its Rewards Program, as the two went “hand in hand.”102 Voyager would lend cryptocurrency
deposited on its Platform to third parties, and the yield generated was passed on to customers.103

       93
             Id. ¶ 31.
       94
             Id.
       95
             Whooley at 2; Ehrlich at 6; Hanshe at 3.
       96
             Whooley at 2; First Day Decl. ¶ 26.
       97
             Hanshe at 3.
       98
             First Day Decl. ¶ 24.
       99
             Hanshe at 3.
       100
             Id.
       101
             Psaropoulos at 2.
       102
             Hanshe at 3.
       103
             First Day Decl. ¶ 29.




                                                    21
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13           Exhibit A -
                                  Redacted Report Pg 27 of 70



The third parties paid Voyager a pre-negotiated interest rate that was payable in either cash or
PIK.104 According to Voyager, its lending program “is an integral part of its business and
necessary to provide customers with a meaningful return on their assets.”105 According to Mr.
Psaropoulos, if there were no Rewards Program, the Company would not be engaged in
lending.106 The Customer Agreement explicitly discloses the nature of Voyager’s lending
program, including that loans to third parties may not be secured or collateralized, and that
Voyager may not have the ability to return customer cryptocurrencies in the event of a
borrower’s default.107

                   4.      Staking

       Voyager also “staked” cryptocurrencies on behalf of its customers.108 Staking is a way to
earn passive interest on cryptocurrency by “staking” it on the blockchain for a fixed period of
time during which such cryptocurrency cannot be withdrawn. 109

       Deposited cryptocurrency assets are used to verify transactions on the blockchain. The
“blockchain” is a digital technology that vets and certifies transactions through a complex
mathematical process.110




        Voyager makes staking easier for customers by staking the cryptocurrency they already
have on Voyager’s platform through the Voyager App, instead of transferring the cryptocurrency
out and staking the cryptocurrency on their own.111 Pursuant to the Customer Agreement,
customers participating in the Rewards Program consent to Voyager’s authority to “stake
Cryptocurrency held in an omnibus fashion through various blockchain protocols” and Voyager
may “select[] which and how much cryptocurrencies are available for such staking and
lending.”112 Voyager’s staking efforts were a key way to generate income for Voyager at a
significantly lower risk than a traditional loan.


       104
             Id.
       105
             Id.
       106
             Psaropoulos at 2.
       107
                   See Customer Agreement,          updated   Jan.   7,   2022,   §§   5(D),   10,
https://www.investvoyager.com/useragreement/.
       108
             First Day Decl. ¶ 28.
       109
             Id.
       110
             Id. ¶ 13.
       111
             Id. ¶ 28.
       112
             Customer Agreement § 10(A).




                                               22
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                 Exhibit A -
                                  Redacted Report Pg 28 of 70



                 5.        Customer FBO Accounts

       Voyager customers can fund their accounts on Voyager’s platform by transferring their
cash via Automated Clearing House (“ACH”) or wire transfers from their personal banks
account to two “for the benefit of” accounts (the “FBO Accounts”) held at MC Bank.113

       Pursuant to the Customer Agreement, “cash deposited in the Customer’s Account is
maintained in an omnibus account at [MC Bank] . . . . Voyager maintains an agreement with
[MC Bank] whereby [MC Bank] provides all services associated with the movement of and
holding of USD.”114 Additionally, the account services agreement between Voyager and MC
Bank establishes that MC Bank is the holder of the FBO Accounts through which funds sent by
customers are held.

                 6.




       113
             See First Day Decl. at Ex. A (Evidentiary Support for First Day Pleadings) ¶¶ 29-33.
       114
             Customer Agreement § 5(A).




       121
             Id. at 2.



                                                    23
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13          Exhibit A -
                                  Redacted Report Pg 29 of 70



       G.          CIRCUMSTANCES LEADING TO THE CHAPTER 11 CASES

       The first half of 2022 brought significant volatility—and declines—in both traditional
and cryptocurrency markets. Among the major cryptocurrencies that experienced significant
declines in the first half of 2022 was Bitcoin, which slumped more than 37% in June 2022 alone
and, as of the Petition Date, was down 60% for the year.122 Companies in the cryptocurrency
industry also experienced significant equity declines as declining cryptocurrency prices
pressured margins and investor pessimism grew.123

                   1.      Terra Luna Collapse

        Terra is an open-source blockchain protocol created by Terraform Labs. Terra issues
Luna, a cryptocurrency that is used to execute transactions on the Terra blockchain. In early
May 2022, Luna traded at approximately $86 and had a market capitalization of approximately
$14 billion.124

        Terraform Labs also issued Terra, an algorithmic stablecoin. Historically, Terra traded at
$1. Terra maintained its “peg” to Luna via an arbitrage mechanism. If Terra traded above $1,
arbitrageurs bought $1 worth of Luna for $1 and exchanged Luna for one Terra worth more than
$1, netting the difference as profit. If Terra traded below $1, arbitrageurs bought one Terra for
less than $1 and exchanged it for $1 worth of Luna, netting the difference as profit. These
arbitrage trades push the price of UST back to $1.125

        On May 7, 2022, $2 billion of UST was unstaked and immediately sold, moving UST’s
price down to $0.91.126 Upon seeing UST “de-peg,” UST holders rushed to unstake and sell
their coins, leading to a downward spiral. Traders redeemed UST for Luna and sold their Luna,
leading to a significant decrease in the price of Luna. Within the span of one week, Luna’s price
fell from $82.55 to $0.000001.127

                   2.      3AC Collapse

       The collapse of Luna had a significant effect on the cryptocurrency industry.
Cryptocurrency-focused hedge funds and other companies that owned Luna incurred losses on
their position. Some participants were unable to sell Luna under staking or other lock-up
agreements, and as a result incurred up to a near total loss on their investment. 128


       122
             First Day Decl. ¶ 43.
       123
             Id.
       124
             Id. ¶ 45.
       125
             Id. ¶ 46.
       126
             Id. ¶ 47.
       127
             Id. ¶ 48.
       128
             Id. ¶ 50.




                                                 24
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13         Exhibit A -
                                  Redacted Report Pg 30 of 70



        In early June 2022, it was reported that 3AC may have incurred significant losses due to
Luna’s collapse. On June 15, one of 3AC’s founders stated that the fund incurred significant
losses on account of its staked Luna position and had hired legal and financial advisors to
explore potential liquidity solutions.129 On June 27, 2022, 3AC was ordered by a British Virgin
Islands court to commence liquidation proceedings.130

        As discussed below in greater detail, Voyager had entered into a number of third-party
loans in order to fund yield on the assets customers stored with Voyager. 3AC was one of the
largest of these third-party borrowers. Between March 8 and May 5, Voyager lent 15,250
Bitcoins (“BTC”) and 350 million USD Coins (“USDC”) to 3AC, all on a fully callable basis.131
On June 13, 2022, Voyager made an initial request for a repayment by 3AC of $25 million of
USDC by June 24, 2022, and subsequently requested repayment of the entire outstanding
balance of BTC and USDC by June 27, 2022.132 3AC did not repay either requested amount.
Accordingly, on June 27, 2022, Voyager issued a notice of default to 3AC for failure to make the
required payments under the 3AC Loans.133

                   3.      The Gates

        On June 13, 2022, Celsius Network announced that it was raising the “gates” on account
activity, pausing all account withdrawals and transfers due to what it referred to as “extreme
market conditions.”134 Celsius’s announcement triggered a further drop in the crypto markets.135
Following this news, Voyager saw a significant uptick in customer withdrawals, putting
additional strain on Voyager’s business and risking its ability to serve customers who remained
on its platform.136 On June 23, 2022, Voyager reduced its daily withdrawal maximum from
$25,000 to $10,000 per user per day in hopes that it would allow it to stabilize its business.137
However, the crypto markets continued its downward trend, and on July 1, 2022, Voyager froze
all withdrawals and trading activity on its platform.138


       129
             Id. ¶ 51.
       130
             Id.
       131
           See March 8, 2022 Term Sheets [PRIVILEGED-CONFIDENTIAL-VOYAGER-00009695 &
9696]; March 15, 2022 Term Sheet [PRIVILEGED-CONFIDENTIAL-VOYAGER-00009695]; April 1,
2022 Term Sheets [PRIVILEGED-CONFIDENTIAL-VOYAGER-00009615 & 9666]; May 5, 2022
Term Sheet [PRIVILEGED-CONFIDENTIAL-VOYAGER-00014816].
       132
             Brill at 2.
       133
          First Day Decl. ¶ 56; Acceleration Notice and Notice of Default [PRIVILEGED-
CONFIDENTIAL-VOYAGER-00006335].
       134
             Id. ¶ 62.
       135
             Id.
       136
             Id.
       137
             Id ¶ 63.
       138
             Id.




                                               25
22-10943-mew            Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13          Exhibit A -
                                 Redacted Report Pg 31 of 70



       H.          RISK COMMITTEE

                   1.     Voyager Grows Its Lending Program and Kind Of Formalizes Its
                          Risk Committee

       Around the time that Voyager began its lending program in 2020, members of Voyager
management and finance teams—Ehrlich, Hanshe, Whooley (and Evan Psaropoulos once he
joined the Company)—began holding informal meetings to discuss the lending market.139
During these discussions, the team would discuss counterparty credit risk. 140

       As Voyager’s business grew quickly, Voyager began to put more formal processes in
place. By mid-2021, David Brosgol, the Company’s General Counsel, recommended that the
Company establish a more formal Risk Committee.141



         In the late summer or fall of 2021, Mr. Jensen put together a template on Excel to
illustrate the types of questions that the Risk Committee may consider and how the Risk
Committee would vote to approve borrowers.143                                     Following his
arrival to serve as Treasurer in early 2022, Mr. Brosnahan drafted a Risk Committee charter in or
about late March 2022.145 This charter was discussed by members of the Risk Committee but
not approved by formal vote until May 4, 2022.146 While the Risk Committee had both voting
and non-voting members, the Risk Committee only ever took one formal vote, and that vote was
to approve the Charter.147

                   The composition of the Risk Committee from its more formal establishment
in August 2021 through June 2022 was as follows:



       139
             Hanshe at 3.
       140
             Id.
       141
              Ehrlich at 3; Lalwani at 5; Brosgol at 4; Summary of Interview with Marshall Jensen
(“Jensen”) at 2; Hanshe at 4.


       143
             Id.


       145
              See Risk Committee Charter “Charter”) [VOY-INV-00000177];

       146



       147
             Psaropoulos at 5.




                                               26
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13         Exhibit A -
                               Redacted Report Pg 32 of 70




       As mentioned, not all members of the Risk Committee were so-called “voting members.”



              And, as noted, the Risk Committee has only ever taken one formal vote—the vote
to approve its Charter.

                 2.         The Lending Diligence Process

      The Risk Committee delegated the role of conducting diligence on lending counterparties
to Messrs. Psaropoulos, Whooley, and Brosnahan (as of December 2021) (the “Diligence
Team”).151




       151
             Charter ¶ 2.




                                                  27
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                  Exhibit A -
                              Redacted Report Pg 33 of 70




         Ostensibly, the Diligence Team would conduct the on-boarding diligence process for
potential new borrowers, and then report to the Risk Committee with their findings and
recommendations.156 The diligence process included the following: (i) preliminary discussions
with potential borrower concerning business strategy needs, rates, and/or lending parameters;
(ii) the execution of a non-disclosure agreement and the exchange of written materials including
Anti-Money Laundering Policies, incorporation documents, and financials; (iii) one or more
formal diligence calls; (iv) completion of a due diligence questionnaire (“DDQ”); and (v) a
review of public information concerning the potential borrower.157 Generally, if it became clear
during the diligence process that the potential counterparty would not be a good borrower, the
Diligence Team would not bring the prospective relationship to the attention of the full Risk
Committee.158

       With respect to the financial information Voyager received from potential counterparties,
the type varied. For example, Voyager received audited financials (e.g., Genesis, Vertu),
unaudited financials (e.g., Galaxy, DV Chain); balance sheets (e.g., Celsius, Bitgo), and/or
income statements (Wintermute). As discussed below, Voyager received a one-line NAV
statement from 3AC.

        Mr. Brosnahan would conduct ongoing diligence on current borrowers on a roughly
quarterly basis.159 Based on information gleaned during the ongoing diligence of Celsius—
                                     —the Company decided to end its lending relationship with
Celsius and recall all outstanding loans to Celsius in February of 2022, purportedly because of
issues Celsius was having with regulators and rumors of its high-risk investments.160




       156
             Psaropoulos at 4; Whooley at 3-4.
       157
             Whooley at 3; Psaropoulos at 6-7.
       158
            Id. According to Mr. Whooley, there were several such counterparties that Voyager rejected
before the potential relationship was brought before the Risk Committee, including DV Chain and Babel
Finance. Whooley at 3.
       159
             Whooley at 4.
       160
             Brosgol at 6-7; Whooley at 5.




                                                 28
22-10943-mew            Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13              Exhibit A -
                                 Redacted Report Pg 34 of 70



                   3.      Lending Practices and Procedures

        Once the Diligence Team finished its review and presented its recommendations to the
Risk Committee, if the Company decided to go forward with a lending relationship, then it
would execute a Master Loan Agreement (“MLA”) with the given counterparty and begin
lending coin pursuant to one or more separate term sheets. 162 The lending documents operate
such that the MLA contains the legal terms and conditions, such as rights and duties of the
parties, but the term sheets contain the financial details of the loans.163



                                                            In consultation with its outside counsel,
Paul Hastings, Voyager created a form MLA that contains all of the terms and conditions that
Voyager would want.166
                                                                         Generally, the counterparty
would review the form MLA and provide revisions, to which Voyager would either agree or
object.168 In at least one instance, a potential lending relationship was scrapped because Voyager
and the counterparty could not agree to MLA terms.169

        For each individual loan, Voyager would enter into a term sheet with the borrower. The
term sheets contain the financial terms, such as the amount lent, the interest rate, and whether the
loan was collateralized.170 The Risk Committee did not see or consider any of the term sheets—
it was left to the “Finance Team” which consists of the same individuals comprising the
Company’s Diligence Team (i.e., Messrs. Psaropoulos, Whooley, and Brosnahan) to negotiate
and execute term sheets. 171 The Finance Team placed only two soft limits on the amounts they
could lend: (i) for any given coin, they could only lend 85% of the total amount of that coin that
Voyager had on platform (subject to modification based on the liquidity and availability of the
coin); and (ii) for any given counterparty, Voyager would only lend up to a notional amount
equal to 25% of that party’s NAV—but this was also subject to adjustment based on the facts
and circumstances surrounding the loan in question. 172
       162
             Psaropoulos at 3.
       163
             See e.g., 3AC MLA [VOY-INV-00003432].



       166
             Id.


       168
             Brill at 2.
       169
             Whooley at 3.
       170
               See e.g., March 15, 2022 Term Sheet [PRIVILEGED-CONFIDENTIAL-VOYAGER-
00009674].
       171
             Whooley 3-4; Psaropoulos at 3; Jensen at 2-3.
       172
             Brosnahan at 3; Whooley at 3; Psaropoulos at 4.



                                                   29
22-10943-mew            Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13             Exhibit A -
                                 Redacted Report Pg 35 of 70




       I.          THE 3AC LOANS

                   1.     Background of Relationship

        3AC was a Singapore-based hedge fund founded in 2012 by Kyle Davies and Shu Zu. 175
Between 2015 and 2020, 3AC experienced rapid growth and extreme profitability, becoming
known as a “behemoth” in the industry.176 While individuals at Voyager were aware of 3AC’s
existence prior to 2022,177 Voyager did not consider the prospect of doing business with 3AC
until one of Voyager’s investors suggested that the Company’s management team seek out a
relationship with them in early 2022. 178 Management then began an outreach campaign to get in
touch with 3AC personnel.179 They found success when Mr. Psaropoulos connected with Tim
Lo, an employee at Tai Ping Shan Capital (“TPS”)—an over-the-counter trading desk related to
3AC—through a mutual acquaintance in early 2022.180 Through Mr. Lo, the relationship
between Voyager and 3AC began to develop. 181

                   2.     Due Diligence

        At the outset, it was clear to Voyager personnel that 3AC was interested in borrowing
potentially large sums from Voyager.182

                                                                               Thus, the Diligence
Team quickly got to work onboarding 3AC as a lender.




       175
             Three Arrows Founders Break Silence Over Collapse of Crypto Hedge Fund, Bloomberg,
July 22, 2022, https://www.bloomberg.com/news/articles/2022-07-22/three-arrows-founders-en-route-to-
dubai-describe-ltcm-moment.
       176
             Id.; Whooley at 3.
       177
             Brill at 2; Psaropoulos at 5
       178
             Psaropoulos at 5.
       179
             Id.
       180
             Id.
       181
             Id.
       182
             Whooley at 5.




                                                30
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                  Exhibit A -
                              Redacted Report Pg 36 of 70



        The process began with an introductory call between Mr. Lo and Messrs. Psaropoulos
and Whooley on February 7, 2022.184 During that call, Mr. Psaropoulos gave an overview of
Voyager’s business and Mr. Lo shared certain high-level information about 3AC’s NAV and
borrowing appetite.185 Specifically, Mr. Lo estimated 3AC’s NAV to be $3.5 billion, and
explained that 3AC was only interested in borrowing on an uncollateralized basis.186 On
February 11, 2022, 3AC and Voyager signed a Mutual Non-Disclosure Agreement and the
Finance Team held several more calls and correspondence with Mr. Lo, mostly concerning
certain provisions of the MLA that 3AC wanted removed.187 The standard provisions in
Voyager’s form MLA that 3AC wanted changed were (i) the requirement to provide financial
statements to Voyager and (ii) the provision giving Voyager consent rights over a change in
control at 3AC.188




              With respect to the obligation to provide financial statements, Mr. Lo offered to
send over an “NAV statement” in lieu of financials.190 The NAV statement was a one-page
document on 3AC’s letterhead summarily stating 3AC’s NAV as of January 1, 2022 was $3.729
billion.191 The document follows:




       184
             Psaropoulos at 5.
       185
             Id.
       186
              According to Mr. Psaropoulos, NAV is a calculation of a company’s assets less liabilities
(i.e., the company’s equity value), and it is calculated mark-to-market. Id. Mr. Psaropoulos never
verified that 3AC’s NAV was calculated mark-to-market. Id.
       187
             Id.; Whooley at 4.
       188
             See Feb. 16, 2022 Email from T. Lo to E. Psaropoulos [VOY-INV-0000006].


       190
             Psaropoulos at 7.
       191
             See Jan. 1, 2022 NAV Statement [VOY-INV-00000451]:




                                                  31
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                 Exhibit A -
                              Redacted Report Pg 37 of 70




       Mr. Psaropoulos explained during his interview that he had experience with NAV
statements before Voyager, and admitted that the one-page statement Voyager received from
3AC was “unusual” and “light” on information compared to others he has seen. 192

         On February 28, 2022, a diligence call was held between Voyager and 3AC.193 In
attendance from 3AC were Kyle Davies and Tim Lo.194 The Voyager Diligence Team was in
attendance, as were two members of the Company’s legal team, David Brill and Brian Nistler. 195
During the call, the Diligence Team, led by Mr. Brosnahan, asked numerous questions about
3AC’s business and financial health, and ascertained that 3AC: (i) manages only its founders’
assets; (ii) was involved in some venture projects, like GBTC and Solana, but most of its venture
activities involved small sums (i.e., six figure investments); (iii) was largely engaged in arbitrage
trading, which was delta neutral, and thematic trading (meaning 3AC had taken long positions on

       192
             Psaropoulos at 7.
       193
             Brosnahan at 4; Whooley at 4; Psaropoulos at 5-6.
       194
             Psaropoulos at 5.
       195
             Id.




                                                   32
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13              Exhibit A -
                               Redacted Report Pg 38 of 70



BTC through traditional and synthetic investments); (iv) limits its own borrowing to 1x NAV;
(v) would not take a position larger than 1-3% of circulation of any given alt-coin, to protect its
liquidity; and (vi) does not provide financials to lenders because there was a prior incident in
which they gave their balance sheet to BlockFi, who used information gleaned from the financial
document to decipher 3AC’s trading strategies and copied them.196 During this February 28 call,
3AC did not discuss its investment in Luna.197


       There was a Risk Committee Meeting the next day, March 1, 2022, and the potential
lending relationship with 3AC was one of the items discussed.199




        Marshal Jensen and David Brill attended the meeting remotely, but all others members of
the Risk Committee were in Voyager’s WeWork office in New York City.200 The meeting began
with an overview of Voyager’s current trading, lending, and staking positions, which was led by
Mr. Whooley.201 Then, Mr. Psaropoulos opened the discussion about 3AC by explaining the size
and rate of the potential loans that 3AC was willing to borrow.202 Then, Mr. Brosnahan walked
through a summary of the diligence call that the Diligence Team conducted the night before, as
well as the Diligence Team’s overall impression of 3AC’s creditworthiness,



       196
             Id. at 5-6; Brosnahan at 4; Whooley at 4.
       197
             Psaropoulos at 6.


       199
             See March 1, 2022 Risk Committee Agenda [VOY-INV-00000454].
       200
             Psaropoulos at 6.
       201
             Whooley at 4.
       202
             Id.; Psaropoulos at 6.




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22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13          Exhibit A -
                                  Redacted Report Pg 39 of 70




                                                                                        During the
ensuing discussion, Mr. Ehrlich responded that is was not uncommon for hedge funds like 3AC
to take any and all steps to avoid sharing their trading strategies, and that he was not concerned
about the lack of financial statements.206

                                                                            In the end, all
members of the Risk Committee were comfortable with taking 3AC on as a borrower,

                                                             It was particularly important to Mr.
Psaropoulos that Genesis was already a lender to 3AC.210 This was because Mr. Psaropoulos
was familiar with the rigorous diligence process that Genesis conducts when deciding to lend,
and the fact that 3AC passed Genesis’ onboarding process, in his mind, was significant.211


                                                           According to Mr. Whooley, the Risk
Committee discussed implementing a credit limit upon 3AC equal to 25% of the amount set forth
in the January 1, 2022 NAV statement, roughly $930 million.213 It was also discussed that
Voyager would not lend the full that amount (i.e., nearly $1 billion) immediately, but would
instead ramp up to that amount over the ensuing months.214

        According to Mr. Whooley, the Finance Team envisioned that 3AC would become one of
Voyager’s largest lending counterparties, “similar to Alameda.”215 And, like their existing
relationship with Alameda, Voyager hoped 3AC would eventually become a trading counterparty
and an investor in Company.216 In fact, during the February 28, 2022, diligence call, Mr.




       206
             Id.; Ehrlich at 4; Brosgol at 6.




       210
             Id. at 6.
       211
             Id.


       213
             Whooley at 5.
       214
             Id.




                                                34
22-10943-mew              Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13            Exhibit A -
                                   Redacted Report Pg 40 of 70



Psaropoulos floated the idea of 3AC participating in a private placement that Voyager was
pursuing.217 Voyager wanted 3AC to be an investor because such an investment from 3AC
would not only align 3AC with Voyager by ensuring 3AC had “skin in the game,” but it would
also boost Voyager’s reputation in the marketplace.218 For his part, Mr. Davies did not express
any interest in investing in Voyager at the time, but the idea was revisited several months later.219

        Additional diligence materials, including an organizational chart, incorporation
certificates, an Anti-Money Laundering Policy, and a completed DDQ were sent to Voyager on
March 3, 2022,

                                                           The MLA was executed on March 4,
2022, with both the change in control and audited financial statement provisions stricken from
the final document.222 The MLA did include a provision requiring 3AC to provide Voyager with
a copy of its NAV statement, prepared in accordance with generally accepted accounting
principles, upon Voyager’s reasonable request, and at a minimum on a quarterly basis.

                     3.     Loans Made under the 3AC MLA

       The first two loans made by Voyager to 3AC were issued on March 8, 2022, for
100,000,000 USDC at an interest rate of 9% and 2,750 BTC at an interest rate of 2%.223 On
March 15, 2022, Voyager issued to 3AC an additional 100,000,000 USDC at interest rate of
9%.224 None of these loans were collateralized.

        On March 23, 2022, Voyager received an updated NAV statement from 3AC, dated
March 1, 2022.225 The updated statement showed that 3AC’s NAV had dropped from $3.729
billion to $3.218 billion.226 Despite this precipitous drop in value, the Finance Team determined
to lend an additional 150,000,000 in USDC at a rate of 8%
                                             and 10,000 BTC at a rate of 2%.227               the

         217
               Psaropoulos at 6.
         218
               Id.
         219
               See infra Section III.I.5.



         222
               See 3AC MLA [VOY-INV-00003432].




         225
               See March 1, 2022 NAV Statement [VOY-INV-00000129].
         226
               Id.
         227
               See April 1, 2022 Term Sheets [PRIVILEGED-CONFIDENTIAL-VOYAGER-00009615 &
9666].




                                                 35
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13           Exhibit A -
                              Redacted Report Pg 41 of 70



Finance Team was unconcerned about 3AC’s drop in NAV as it tracked declines across the
market.228 On May 5, 2022, Voyager issued its final loan to 3AC, for 2,500 BTC at a rate of
2%.229 Again, this loan was not collateralized. After approving 3AC as a borrower, the Risk
Committee was never subsequently consulted about the issuance of any of the loans to 3AC, nor
was it presented with the term sheets. 230 In general, Mr. Whooley would receive an in-bound
request, and would discuss with Mr. Psaropoulos, and Mr. Ehrlich would ultimately determine
whether to approve the specific loan.231

                4.       Relative Size of Loans to 3AC

       As of April 3, 2022, Voyager had assets on platform (“AOP”) of $5.64 billion.232




       228
             Psaropoulos at 7.
       229
             May 5, 2022 Term Sheet [PRIVILEGED-CONFIDENTIAL-VOYAGER-00014816].
       230
             Psaropoulous at 3; Jensen at 2; Whooley at 4.
       231
             Psaropoulos at 3, 4.
       232
             Treasury Weekly Update, March 28-April 3 [VOY-INV-00000107].




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22-10943-mew               Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13             Exhibit A -
                                    Redacted Report Pg 42 of 70



         Approximately two months later, on June 6, 2022, Voyager’s AOP had dropped to $3.39
billion,                                                                 approximately 38%
was on loan to 3AC (approximately $830 million)




                   5.         3AC’s Participation in Equity Raise

        In late May 2022, Voyager closed a private placement of 22,991,453 shares issued to
various investors at $2.34 per share, for a total equity raise of $60 million.237 3AC participated
in the private placement, but it only provided $1,999,998 in exchange for 854,700 shares.238 As
noted above, Voyager was mostly interested in 3AC’s participation in the private placement for
the message it would send to the market, not as a lead investor for the raise.239

       Around the same time as the equity raise, Mr. Ehrlich, and Voyager co-founder Phillip
Eytan,240 were approached by two parties that were interested in purchasing Voyager; however,




        237
               See Subscription Agreement [PRIVILEGED-CONFIDENTIAL-VOYAGER-00010550] at 6.
        238
               Id. at 4.
        239
               Jensen at 3.
        240
               Mr. Eytan has no role at Voyager LLC, but is on the Board of Directors of Debtor Voyager
Digital Ltd.



                                                    37
22-10943-mew                 Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13        Exhibit A -
                                      Redacted Report Pg 43 of 70



Mr. Ehrlich was not looking to sell the Company, and would only entertain an offer to purchase
Voyager for approximately $6 per share or $1.2 billion—well above Voyager’s market
capitalization.241

                        6.      Re-Rating of the 3AC Loan

              Between May 9, 2022 and May 12, 2022, the value of Terra, and Luna crashed to almost
zero.   242




       When Voyager learned about 3AC’s potential exposure to Luna, Mr. Whooley reached
out to Mr. Lo and was “told it was an insignificant loss for 3AC.”244



                                            However, the Finance Team ceased issuing further
loans to 3AC, despite requests from 3AC to borrow more.247 Additionally, the crash of Terra
and Luna had a tremendous effect on the crypto markets, and the Finance Team believed it
would be appropriate to re-rate all of its outstanding loans.248 With respect to 3AC, Voyager
rerated its outstanding USDC loans to 10% and its BTC loans to 3% on May 12 and 13, 2022.249

                        7.      Voyager Recalls the 3AC Loan

       The week after the crash of Terra and Luna, Messrs. Psaropoulos and Whooley had
dinner with Mr. Lo in New York City.250 At the dinner, the three of them spoke for several hours


              241
                    Ehrlich at 6.
             See Krisztian Sandor, Ekin Genç, The Fall of Terra: A Timeline of the Meteoric Rise and
              242

Crash of UST and LUNA, CoinDesk, Aug. 19, 2022, https://www.coindesk.com/learn/the-fall-of-terra-a-
timeline-of-the-meteoric-rise-and-crash-of-ust-and-LUNA/


              244
                    Psaropoulos at 7; Whooley at 5.




         See May 20, 2022 Slack Message between R. Whooley & J. Brosnahan [PRIVILEGED-
              247

CONFIDENTIAL-VOYAGER-00000478].
              248
                    Summary of Interview of B. Silard at 2-3.
         See May 12, 2022 and May 13, 2022 Loan Refinance Term Sheets [PRIVILEGED-
              249

CONFIDENTIAL-VOYAGER-00005995 & 10827].
              250
                    Psaropoulos at 7; Whooley at 5.




                                                          38
22-10943-mew             Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13            Exhibit A -
                                  Redacted Report Pg 44 of 70



about 3AC’s financial health.251 Mr. Lo informed Messrs. Psaropoulos and Whooley that 3AC’s
losses were limited to roughly $100 million, a number that was not concerning given the relative
size of 3AC’s NAV.252 Things between Voyager and 3AC remained relatively quiet until June
12, the day that Celsius lowered its gates and paused withdraws.253 Upon this occurrence,
Voyager reached out again to all of its borrowers to inquire about their financial health, including
3AC. On June 13, 2022, Mr. Psaropoulos held a Zoom call with Mr. Lo during which Mr. Lo
informed him that 3AC had no exposure to Celsius.254



       Mr. Psaropoulos immediately called Mr. Lo and was informed that Kyle Davies and Shu
Zu had “gone dark” and that things “are in bad shape.”256 Mr. Lo suggested that Voyager
immediately recall its outstanding loans to 3AC.257 Mr. Psaropoulos asked Mr. Lo how much
Voyager should recall, and the latter responded: “All of it.”258 Mr. Psaropoulos hung up and
called Mr. Ehrlich to inform him.259 Within hours, Voyager had recalled all outstanding amounts
loaned to 3AC.

        3AC did not return any of the loaned amounts, and on June 24, 2022, Voyager issued a
notice of default and acceleration to 3AC.260

                   8.      3AC Commences Liquidation Proceedings

        Following Voyager’s notice of default and acceleration, 3AC was put into liquidation by
a court in the British Virgin Islands.261 The liquidation is currently ongoing and is overseen by
Joint Liquidators Russell Crumpler and Christopher Farmer of Teneo. 262




       251
             Psaropoulos at 7.
       252
             Id.
       253
             Id. at 7-8.
       254
             Id. at 8.


       256
             Psaropoulos at 8.
       257
             Id.
       258
             Id.
       259
             Id.
       260
          See Acceleration Notice and Notice of Default [PRIVILEGED-CONFIDENTIAL-
VOYAGER-00006335].
       261
             Serena Ng, Caitlin Ostroff & Vicky Ge Huang, Crypto Hedge Fund Three Arrows Ordered
by Court to Liquidate, WSJ, June 29, 2022, https://www.wsj.com/articles/crypto-fund-three-arrows-
ordered-to-liquidate-by-court-11656506404.




                                                39
22-10943-mew          Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                    Exhibit A -
                               Redacted Report Pg 45 of 70



                 9.     3AC Loans from Other Lenders

        According to the Affidavit of Russell Crumpler, Joint Liquidator of Three Arrows Capital
Ltd, filed in 3AC’s liquidation proceeding on July 9, 2022, 3AC owed the following amounts to
parties other than Voyager:

              Counterparty                 Aggregate Amount                Aggregate Amount of
                                             Outstanding                        Collateral
  Equities First Holdings LLC          $162,059,500                    6,500,000 GBTC

  Tower Square Capital Limited         158.95031466 BTC                N/A
                                       13,206.76723 USDC
                                       1,121,542.58188 Terra
  Ashla International Inc              500 BTC                         N/A
                                       10,000,000 Terra
  Plutus Lending LLC                   10,000,000 USDC                 N/A
  Connor Zautke (Master Trade          12.7233 BTC                     N/A
  Agreement)                           109.4143 ETH
  Stephen Zautke (Master Trade         218.3534 BTC                    N/A
  Agreement)                           1,735.3587 ETH
  LuneX Ventures LP                    88 BTC                          N/A
  Kenrick Drijkoningen                 55 BTC                          N/A
                                       $250,000
  Play Future Fund Limited             $600,000 capital call           N/A
  Banton Overseas Limited              150 BTC                         N/A
                                       387 ETH
  Moonbeam Foundation Ltd              200,000 MOVR                    N/A
  (liquidity consulting agreement)     10,000,000 GLMR
  Moonbase One Ltd (assigned           17,000,000 USDC                 N/A
  MLA)
  PureStake Ltd                        8,000,000 USDC                  N/A
  Livetree Community Ltd               $300,000                        N/A
                                       10,000 DOT
  Onchain Custodian                    30.18386678 BTC                 N/A
  Singapore Biget Pte Ltd              $16,322,226                     $6,615,000
  SBI Crypto Co Ltd                    362.82191561 BTC                506.69 ETH
  210K Capital, LP                     68.20101004 BTC                 N/A
  Hashkey Trading                      444,196.08 Terra                69.21 BTC (accounted for in
                                                                       balance principal)



        262
              Dietrich Knauth, Three Arrows liquidators asks U.S. court to force crypto founders to
cooperate, Reuters, July 11, 2022, https://www.reuters.com/legal/litigation/three-arrows-liquidators-asks-
us-court-force-crypto-founders-cooperate-2022-07-11/




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22-10943-mew      Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13              Exhibit A -
                           Redacted Report Pg 46 of 70



            Counterparty              Aggregate Amount            Aggregate Amount of
                                        Outstanding                    Collateral
 FalconX Ltd                       $65,474,982.33              N/A
 Mirana Corp                       $13,062,418.07              $37,098,062.97 (accounted
                                                               for in balance principal)
 CoinList Services LLC             35,000,000 USDC             N/A

 DRB Panama Inc                    1300 BTC                     N/A
                                   15,000 ETH
 Genesis Asia Pacific Pte Ltd      $2,360,302,065              2,125,794 shares of
                                                               Grayscale Bitcoin Trust
                                                               446,928 shares in Grayscale
                                                               Ethereum Trust
                                                               2,076,238 shares in
                                                               Grayscale Bitcoin Trust
                                                               13,241,612 shares of
                                                               Grayscale Bitcoin Trust
                                                               2,739,043.83 AVAX tokens
                                                               13,583,265 NEAR tokens
 Arrakis Capital Ltd               20,000,000 USDC             N/A
 Celsius Network Ltd               75,344,178.08 USDC          N/A

      While some of 3AC’s loans from other parties were collateralized, as indicated above,
most were under- or unsecured.




       J.      OTHER LOANS MADE BY VOYAGER

       As of the Petition Date, Voyager LLC had loans outstanding to six other counterparties.
Despite this, the loans to 3AC represented 57.8% of Voyager LLC’s loan portfolio:




                                             41
22-10943-mew        Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                   Exhibit A -
                             Redacted Report Pg 47 of 70



     Loan             Amount Outstanding as of        Percentage of Total Amount     Final Recall
  Counterparty         Petition Date (in USD)            of Loans Outstanding          Date267
JUMP                  $            13,551,142.40                            1.2%         7/7/2022
Galaxy                              34,146,537.46                           3.0%        7/21/2022
Wintermute                          27,812,995.66                           2.4%        7/21/2022
Alameda                           385,264,936.66                           33.9%         9/6/2022
Anchorage                              944,342.45                           0.1%         8/2/2022
Genesis                             17,722,534.77                           1.6%         8/1/2022
3AC                               657,404,783.21                           57.8%              N/A
TOTAL                 $        1,136,847,272.61




       K.       CUSTOMER AGREEMENT

        The Customer Agreement governs Voyager’s contractual relationship with its customers.
The Customer Agreement has evolved since its first iteration in September 2018, when it was
called a “User Agreement.” The User Agreement contains the following language:

       I understand that my Voyager Account is self-directed. Accordingly, I appoint
       Voyager as my agent for the purposes of carrying out my directions to Voyager in
       accordance with the terms and conditions of this Agreement. 268

       The User Agreement also disclosed that Voyager was not a broker-dealer, nor a member
of Financial Industry Regulatory Authority or Securities Investor Protection Corporation
(“SIPC”), and that customers’ cryptocurrency investments were not protected by either Federal
Deposit Insurance Corporation (“FDIC”) or SIPC insurance.

        In October 2019, the User Agreement was amended to include a “Risk Disclosure”
section, which disclosed that:

       We will lend, sell, pledge, rehypothecate, assign, invest, use, commingle, or
       otherwise dispose of funds and cryptocurrency assets to counterparties such as
       BlockFi, and we will use our commercial best efforts to prevent losses.269


       267
              A small number of termed loans to remain outstanding. Specifically, Voyager has a single
loan outstanding to Galaxy for 50,915,978 HBAR (worth approximately $3,138,384.54) that matures on
November 13, 2022, and two loans outstanding to Alameda for 50,000,000 USDC and 62,500 ETH
(worth approximately $70,725,308.92) that mature on November 26, 2022 and November 28, 2022,
respectively.
       268
             Original User Agreement [VOY-INV-00008206].




                                                 42
22-10943-mew        Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13               Exhibit A -
                             Redacted Report Pg 48 of 70



       Additionally, the 2019 amendment added clearer customer consent language stating that
Voyager could act as a custodian (but without using the term itself) to hold the cryptocurrencies
in Voyager’s name or in another name, and could “pledge, repledge, hypothecate, sell, lend, or
otherwise transfer or use” such cryptocurrencies with “attendant rights of ownership.”270

        In April 2021, Voyager transitioned to a new, longer form Customer Agreement. A
“Risk Disclosure” section was replaced with a longer “Account Funding; Regulatory Treatment”
section with two relevant subsections: Customer Cash and Customer Cryptocurrency. The
Customer Cash section incorporated more extensive FDIC-related disclosures, explaining that
customer cash was commingled and protected only up to $250,000, and only against the failure
of the holding bank, not of Voyager. Meanwhile, the Customer Cryptocurrency section
contained extensive and explicit authorizations for Voyager to act as custodian and to delegate
custodian functions to third parties in its discretion. The section also explained the uncertain
effects of insolvency proceedings on customer cryptocurrencies, including that such effects may
include the customer “being treated as an unsecured creditor and/or the total loss of all Customer
Cryptocurrency.”271

         The April 2021 Customer Agreement also added disclosures regarding the Rewards
Program (referred to as the “Interest Program” in the Customer Agreement) funded by Voyager’s
lending activities. Voyager disclosed that the loans made by Voyager to third parties may not be
secured or collateralized, and that Voyager had no obligation or ability to return customer
cryptocurrencies in the event of borrower’s default; consequently, the Interest Program could
result in total loss of customer cryptocurrencies.

      The Customer Agreement also added an option for customers to opt out of the Interest
Program.

        The Customer Agreement was amended in November 2021 to include disclosures
relating to staking.272 The most recent version of the Customer Agreement, dated January 7,
2022, was amended to include additional disclosures regarding Voyager’s relationship with MC
Bank.273




       269
             Oct. 2019 Amended User Agreement [VOY-INV-00008089].
       270
             Id.
       271
             Apr. 2021 Customer Agreement [VOY-INV-00008226].
       272
             Nov. 2021 Customer Agreement [VOY-INV-00008059].
       273
             Jan. 7, 2022 Customer Agreement (Operative) [VOY-INV-00007999].




                                                43
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 49 of 70




                                     44
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 50 of 70




                                     45
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 51 of 70




                                     46
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 52 of 70




                                     47
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 53 of 70




                                     48
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                    Exhibit A -
                              Redacted Report Pg 54 of 70



        M.      INTERCOMPANY TRANSACTIONS AND INSIDER PAYMENTS

                1.      Intercompany Transactions

         The Debtors maintain business relationships with each other (the “Intercompany
Transactions”) resulting in intercompany receivables and payables in the ordinary course of
business (the “Intercompany Balances”). In the ordinary course of business, the Debtors make
Intercompany Transactions to either (a) reimburse certain Debtors or non-Debtor affiliates for
various expenditures associated with their business or (b) fund certain Debtors’ or non-Debtor
affiliates’ accounts in anticipation of such expenditures as needed. 310




        In addition to the foregoing, Voyager LLC is listed on Debtor Voyager Digital Holdings,
Inc.’s Schedule of Assets and Liabilities as a general unsecured creditor with a claim in the
amount of $26,274,919.31. The basis of the claim is “intercompany” and the claim is not listed
as contingent, unliquidated or disputed. The nature of the claim (e.g., a loan) is not noted in the
schedules. This claim is listed as a intercompany receivable asset on Debtor’s Voyager LLC’s
schedules of assets and liabilities.312


        310
            See Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
to (A) Continue to Operate their Cash Management System, (B) Honor Certain Prepetition Obligations
Related thereto, (C) Maintain Existing Business Forms, and (D) Continue to Preform Intercompany
Transactions, (II) Granting Superpriority Administrative Expense Status to Postpetition Intercompany
Balances, and (III) Granting Related Relief (Dkt. No. 10), ¶ 37.




        312
             Debtor Voyager Digital Ltd. is also listed as a creditor on Debtor Voyager Digital Holdings,
Inc.’s Schedules of Assets and Liabilities holding two (2) general unsecured claims in the amount of
$8,329,942.60 and $2,132,044.79. These claims are also listed as “intercompany” and not listed as
contingent, unliquidated or disputed.




                                                   49
22-10943-mew         Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                    Exhibit A -
                              Redacted Report Pg 55 of 70



                2.       Insider Payments

        The Statement of Financial Affairs of Debtor Voyager Digital Holdings, Inc. discloses
that payments in the aggregate amount of $8,415,736.35 were made to insiders within the one
year period prior to the Petition Date.313 The basis for the payments are listed as payroll,
benefits, bonuses, director compensation, and expense reimbursement. Of the foregoing amount,
payments in the aggregate amount of $2,298,487.50 were made to Mr. Ehrlich, which includes a
bonus payment of $1.9 million made on February 28, 2022. A complete schedule of payments to
insiders within one year of the petition date is listed within Attachment 4 to the Statement of
Financial Affairs.




                3.       Side-A D&O Insurance Policy

        As noted above, the Company purchased the Side-A Policy for $10 million on July 1,
2022 (i.e., on the eve of the chapter 11 filing), which would potentially be available to cover the
insured D&Os’ Defense Expenses and other costs.316 However, this contract may be voidable as
a preference or fraudulent transfer—Quinn Emanuel’s analysis on this issue is ongoing.317

IV.    LEGAL FRAMEWORK

       A.       NOTE ON CLAIMS CONSIDERED

        The Special Committee’s Mandate includes an Investigation of Voyager LLC’s potential
estate claims and causes of action against its insiders, including claims arising from the 3AC
Loan.




       313
             Statement of Financial Affairs of Voyager Digital Holdings, Inc. (“SOFA”) (Dkt. No 312).




       316
             See supra Section III.D.2.
       317
         CONFORMED TO REFLECT SUBSEQUENT ACTIVITY: ON NOVEMBER 3, 2022
(SEE ATTACHED CORRESPONDENCE)—QUINN EMANUEL SENT LETTER TO INSURERS
NOTIFYING THEM OF POTENTIAL AVOIDANCE OF AMOUNTS RECEIVED AS SET
FORTH IN DISCLOSURE STATEMENT.



                                                   50
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 56 of 70



     B.   CHOICE OF LAW




     C.   APPLICABLE BREACH OF FIDUCIARY DUTY LAW




                                     51
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 57 of 70




                                     52
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 58 of 70




                                     53
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 59 of 70




                                     54
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 60 of 70




                                     55
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 61 of 70




                                     56
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 62 of 70




                                     57
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 63 of 70




                                     58
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 64 of 70




V.   CONCLUSIONS AND RECOMMENDATIONS




                                     59
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 65 of 70




                                     60
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13   Exhibit A -
                        Redacted Report Pg 66 of 70




     D.   COST-BENEFIT ANALYSIS

          1.     Litigation of These Claims Will Be Costly




          2.     Limited Potential Sources of Recovery




                                        61
22-10943-mew   Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13       Exhibit A -
                        Redacted Report Pg 67 of 70



          3.     Officers May Have Indemnification Claims Against the Estate




                                       62
22-10943-mew      Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13        Exhibit A -
                           Redacted Report Pg 68 of 70



Dated: October 7, 2022

      New York, New York


                                      QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                      Susheel Kirpalani
                                      Katherine A. Lemire
                                      Kate Scherling
                                      Zachary R. Russell
                                      Meredith R. Mandell
                                      Joanna D. Caytas
                                      51 Madison Ave., 22nd Floor
                                      New York, New York 10010

                                      Counsel to the Special Committee of the Board of
                                      Directors of Voyager Digital, LLC




                                        63
22-10943-mew           Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                                         Exhibit A -
                                Redacted Report Pg 69 of 70


     quinn emanuel trial lawyers | new york
     51 Madison Avenue, 22nd Floor, New York, New York 10010-1601 | TEL (212) 849-7000 FAX (212) 849-7100




                                                                                                     WRITER'S DIRECT DIAL NO.
                                                                                                               (212) 849-7200

                                                                                                   WRITER'S EMAIL ADDRESS
                                                                                       susheelkirpalani@quinnemanuel.com



November 3, 2022

VIA E-MAIL AND CERTIFIED MAIL

XL Professional Insurance
100 Constitution Plaza, 17th Floor
Hartford, CT 06103
proclaimnewnotices@xlcatlin.com

XL Specialty Insurance Company
70 Seaview Avenue
Stamford, CT 06902

       RE:       In re Voyager Digital Holdings, Inc., No. 22-10943 (Bankr. S.D.N.Y) –
                 Cornerstone A-Side Management Liability Insurance Policy ELU184179-22

Dear Sir/Madam:

        We represent the Special Committee of Voyager Digital, LLC (“Voyager LLC”) in
connection with the chapter 11 case for Voyager LLC and its affiliated debtors Voyager Digital
Ltd. and Voyager Digital Holdings, Inc. (together with Voyager LLC, the “Debtors”) currently
pending in the United States Bankruptcy Court for the Southern District of New York (jointly
administered under Case No. 22-10943). Reference is made to that certain insurance policy
ELU184179-22, entitled Cornerstone A-Side Management Liability Insurance Policy, issued on
July 1, 2022 (the “Side-A Policy”).

        As you may know, the Debtors’ chapter 11 cases have been moving expeditiously towards
emergence from bankruptcy pursuant to which certain causes of action belonging to the Debtors
will be retained and transferred to a wind-down entity. The Special Committee of Voyager LLC
has been charged with investigating some of the causes of action that may be so retained and
transferred for later prosecution or settlement for the benefit of creditors. As part of that effort,
the Special Committee has worked collaboratively with the Official Committee of Unsecured
Creditors and have identified potential causes of action against you in connection with the Side-A
Policy.




     quinn emanuel urquhart & sullivan, llp
     ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM | MIAMI |
     MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY |
     STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
22-10943-mew       Doc 1000-1 Filed 02/14/23 Entered 02/14/23 08:18:13                  Exhibit A -
                            Redacted Report Pg 70 of 70




        Specifically, we have investigated the Side-A Policy and believe that the Debtors’ estates
have actionable claims relating to the Side-A Policy, including without limitation, clawback as a
fraudulent transfer or preferential payment. Importantly, the Debtors purchased the Side-A Policy
mere days before their bankruptcy filing, and the Side-A Policy’s $10 million premium is 100%
of the Side-A Policy’s stated coverage. Based upon these and other facts, we believe there are
actionable claims in connection with the Debtors’ purchase of the Side-A Policy.

        Indeed, pursuant to Article 5.E of the Debtors’ Second Amended Joint Plan of Voyager
Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
(Dkt. No. 590) (the “Plan”), and as detailed in section VI.B.2.ii of the court-approved First
Amended Disclosure Statement Relating to the Second Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Dkt. No.
591), upon confirmation of the Plan, the right to pursue avoidance actions related to the Side-A
Policy will be explicitly preserved and transferred to a liquidating trust or other wind-down entity
for the purposes of pursuing any and all recoveries available related to the Side-A Policy.

       We write to make you aware of the potential for such litigation. Should you, as insurer,
make any coverage payments to any claimants under the Side-A Policy, such payments will be
made at your own risk and would not relieve you of any potential liability to the Debtors’ estates,
including the potential clawback liability for the return of premiums paid for the Side-A Policy.

                                                         Sincerely,




                                                         Susheel Kirpalani

cc:    Darren Sonderman/CAC Specialty
       Darren Azman/McDermott Will & Emery LLP
       Joseph B. Evans/McDermott Will & Emery LLP
       John J. Calandra/McDermott Will & Emery LLP
       Michael B. Slade/Kirkland & Ellis LLP
       Kate Scherling/Quinn Emanuel Urquhart & Sullivan, LLP
       Zachary Russell/Quinn Emanuel Urquhart & Sullivan, LLP




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